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             IN THE UNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION


JASON VINCENT BARKER,

      Plaintiff,

V                                            CASE NO. CV421-188


SHERIFF JOHN WILCHER, Official
capacity; DEPUTY CARROL,
Official capacity; SARGENT
KENDALL, Official capacity;
BOILS, Official capacity;
DEPUTY WASHINGTON, Official
capacity; DEPUTY MERCER,
Official capacity; CAPTAIN W.
BLANTON, Official capacity;
DEPUTY CLEMONS, Intel Officer/
PREA, official capacity; S.
PERRY, Classification; and LT.
H. MURPHY, Official capacity;

      Defendants.




                               ORDER


     Before the Court is the Magistrate Judge's August 26, 2021,

Report and Recommendation     {Doc. 5), to which Plaintiff has not

filed objections. After a careful review of the record,^ the Report

and Recommendation (Doc. 5) is ADOPTED as the Court's opinion in




^ The Court reviews de novo a magistrate judge's findings to which
a plaintiff objects, and the Court reviews for clear error the
portions of a report and recommendation to which a plaintiff does
not object. 28 U.S.C. § 636(b)(1); see Merchant v. Nationwide
Recovery Serv., Inc., 440 F. Supp. 3d 1369, 1371 (N.D. Ga. 2020)
(citing Macort v. Prem, Inc., 208 F. App'x 781, 784 (11th Cir.
2006) (per curiam)     outlining the standard of review for report
and recommendations
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this case. Plaintiff's Complaint (Doc. 1) is DISMISSED. The Clerk

of Court is DIRECTED to close this case.


     SO ORDERED this    J      day of November 2021.


                                 WILLIAM T. MOOR^ JR.
                                 UNITED STATES   DISTRICT   COURT
                                 SOUTHERN   DISTRICT   OF GEORGIA
